 Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 1 of 8 Page ID #:172




 1   KENNETH W. DONNELLY (admitted pro hac vice)
     Email: donnellyk@sec.gov
 2   Securities and Exchange Commission
 3   100 F. Street, N.E.
     Washington, D.C. 20549
 4   Telephone: (202) 551-4946
     Facsimile: (202) 772-9282
 5
     LOCAL COUNSEL:
 6   AMY J. LONGO (Cal Bar No. 198304)
 7   Email: longoa@sec.gov
     Securities and Exchange Commission
 8   444 S. Flower Street, Suite 900
     Los Angeles, California 90071
 9   Telephone: (323) 965-3998
10   Facsimile: (213) 443-1904

11   Attorneys for Plaintiff
     Securities and Exchange Commission
12
                               UNITED STATES DISTRICT COURT
13
                             CENTRAL DISTRICT OF CALIFORNIA
14
15    SECURITIES AND EXCHANGE                         Case No. 2:19-cv-08334-JWH-RAO
16    COMMISSION,
                                                      Hon. John William Holcomb
17                     Plaintiff,
                                                      DECLARATION OF KENNETH
18              vs.                                   W. DONNELLY IN SUPPORT OF
19                                                    REQUEST FOR ISSUANCE OF A
       KAI CHRISTIAN PETERSEN; GIL                    LETTER ROGATORY
       BESERGLIK; and RAZ BESERGLIK,
20                                                    REQUESTING INTERNATIONAL
                       Defendants,                    JUDICIAL ASSISTANCE
21
      SHRAGA HOLDINGS, LTD. and
22    LEMBEX GLOBAL INVESTMENTS,
      LTD.,
23
                       Relief Defendants
24
25         I, Kenneth W. Donnelly, hereby declare pursuant to 28 U.S.C. § 1746:
26         1.         I represent Plaintiff, the Securities and Exchange Commission (“SEC”),
27   in this action, and have knowledge of the facts below.
28
 Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 2 of 8 Page ID #:173




 1
           2.     The SEC filed its Complaint on September 26, 2019 against, among
 2
     others, Defendants Gil Beserglik and Kai Christian Petersen, both of whom are
 3
     alleged to be residents of Germany.
 4
           3.     Germany is a party to the Convention of 15 November 1965 on the
 5
     Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial
 6
     Matters (the “Hague Convention”), which permits a participating country to execute
 7
     service by a method prescribed by its internal law for the service of documents in
 8
     domestic actions. See Hague Convention, Art. 5, subpar. (a).
 9
           4.     On or about February 5, 2020, pursuant to the Hague Convention, the
10
     SEC sent requests that the German Central Authority serve Messrs. Petersen and
11
     Beserglik with the summons and Complaint in this matter.
12
           5.     As set forth in my prior Declaration, filed at Docket No. 26-1, the
13
     Cologne District Court, the local office for the German Central Authority in the
14
     region where Mr. Beserglik resides, obtained service upon Mr. Beserglik.
15
           6.     The President of the Higher Regional Court of Dusseldorf, the region
16
     where Mr. Petersen is believed to reside, rejected the SEC’s request, asserting that
17
     this suit is not “civil or commercial” and thus not governed by the Hague Convention.
18
           7.     True and correct copies of the SEC’s letter in requesting service of Mr.
19
     Petersen (without attachments), the response from the President of the Higher
20
     Regional Court of Dusseldorf, which is in German, and a certified translation of the
21
     President’s response, are attached hereto.
22
23
     Executed on October 1, 2020 at Washington, D.C.
24
25                                   /s/ Kenneth W. Donnelly
                                     KENNETH W. DONNELLY
26
27
28
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 3 of 8 Page ID #:174
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 4 of 8 Page ID #:175
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 5 of 8 Page ID #:176
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 6 of 8 Page ID #:177
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 7 of 8 Page ID #:178




                                                                    The President of the
                                                                    Higher Regional Court
   Higher Regional Court Düsseldorf, 40402 Düsseldorf                                               20 March 2020
   Kenneth W. Donnelly, Attorney                                                                    Page 1 of 2
   Securities and Exchange Commission (SEC)
   100 F Street, NE
                                                                                                    Reference number
   Washington, DC 20549
                                                                                                    934 E1 - 11.81 /20
   U.S.A.
                                                                                                    Please indicate with reply


                                                                                                    Processor:
                                                                                                    Ms. Zühlsdorff


                                                                                                    Phone (direct line)
   Mutual legal assistance in civil cases according to the Hague Convention of 18 March
                                                                                                    0211 4971-152
   1970 on the taking of evidence abroad in civil or commercial matters
                                                                                                    Office hours:
   Your request for notification of 4 February 2020                                                 Mon - Fri: 8:30 - 12:30
                                                                                                    Wed also 13:00 - 15:00



   I return uncompleted a copy of the request as well as the documents attached to it, since the
   above-mentioned Convention does not apply in this case. The procedure in the United States
   for which judicial assistance is being sought is – according to independent interpretation of
   the Hague Evidence Convention –not to be considered a civil or commercial matter in the
   sense of the Convention.


   Whether a legal dispute is of a civil or commercial nature is, according to currently
   prevailing opinion in legal literature and case law, to be interpreted independently and to be   Service building with
                                                                                                    overnight mailbox and
   assessed based on two criteria (cf. Decision of the European Court case no. C-29/76, LTU v
                                                                                                    delivery address:
   Eurocontrol [1976], 1541):
                                                                                                    Cecilienallee 3
                                                                                                    40474 Düsseldorf
                                                                                                    Phone 0211 4971-0
                                                                                                    Fax 0211 4971-548
            Subject matter of the lawsuit and
                                                                                                    verwaltung@olg-
            Nature of the relationship existing between the parties.                                duesseldorf.nrw.de
                                                                                                    www.olg-duesseldorf.nrw.de


                                                                                                    Public transportation:
   Only the matter in dispute is relevant and not the organizational affiliation of the court
                                                                                                    From central train station with
   involved.
                                                                                                    Line U 78 or U 79 to stop
                                                                                                    Victoriaplatz/Klever Straße
Case 2:19-cv-08334-JWH-RAO Document 31-3 Filed 10/01/20 Page 8 of 8 Page ID #:179




                                                                    The President of the
                                                                    Higher Regional Court




                                                                                                       Page 2 of 2
   While the responsibility for the legal actions corresponding to the proceedings is assigned to
   the civil court according to the US Securities Act, the actions of the SEC are, however, to be
   classified as “acta iure imperii.” With the involvement of a government agency in a lawsuit,
   according to prevailing opinion, it is not a civil or commercial dispute if the authority directs
   the lawsuit in the exercise of its statutory duties. The requested legal assistance can therefore
   not be granted according to the rules of the above-mentioned Convention.


   On behalf of the court
   Zühlsdorff


   - computer generated, valid without signature -
